     Case 8:20-cv-01381-FMO-ADS Document 18 Filed 10/21/20 Page 1 of 1 Page ID #:45




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8                                      UNITED STATES DISTRICT COURT

9                                 CENTRAL DISTRICT OF CALIFORNIA

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11    JAMES RUTHERFORD,                          )   Case No. SA CV 20-1381 FMO (ADSx)
                                                 )
12                        Plaintiff,             )
                                                 )
13                 v.                            )   JUDGMENT
                                                 )
14    ATHANASIOS TATSIS, et al.,                 )
                                                 )
15                        Defendants.            )
                                                 )
16

17          IT IS ADJUDGED THAT the above-captioned action is dismissed without prejudice.

18

19    Dated this 21st day of October, 2020.

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21                                                                        /s/
                                                                Fernando M. Olguin
22                                                           United States District Judge

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